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                                                                 UNITED STATES DISTRICT COURT
                                                                CENTRAL DISTRICT OF CALIFORNIA

          UNITED STATES OF AMERICA,                                                  ~   Western Division
                                                                          Plaintiff, ~
                                           °S•                                       ~   Case Number: 2:21-CR-00485-DSF-2          Indictment
                                                                                     ~   Initial App. Date: 10/25/2021             Summons
          MARILYN LOUISE FLYNN                                                       ~   Initial App. Time: 1:00 PM




                                                                        Defendant. ~     Date Filed: 10/13/2021
                                                                                   ~     Violation: 18 U.S.C. 371 ,18 U.S.C. § 666
                                                                                   ~     18 U.S.C. §§ 1341 ,1 343, and 1346        C ~ ~Z`
                                                                                   ~     CourtSmart/ Reporter:                 ~j ~ I

                PROCEEDINGS HELD BEFORE UNITED STATES                                ~                      CALENDAR/PROCEEDINGS SHEET
                    MAGISTRATE JiJDGE: Pedro V. Castillo                             ~                       LOCAL/OUT-OF-DISTRICT CASE



               PRESENT:                   Ramirez, Marlene                                                                              None

                                     Deputy Clerk                                   Assistant U. Attorney                       Interpreter/Language
                          AL APPEARANCE NOT HELD -CONTINUED
                 O      rt issues Order under Fed. R. Crim. P. 5(~ concerning prosecutor's disclosure obligations; see General Order 21-02 (written order).
                     Defe ant informed of charge and right to: remain silent; appointment ofcounsel, if indigent; right to bail; bail review and
                         preliminary hearing OR~moval hearing / Rufe 20.
                   Defendant states true name      is as charged ❑ is
                 Q Court ORDERS the caption ofthe Indictment/Information be changed to reflect defendant's different true name. Counsel aze directed to file all
                  future documents reflecting the true name as stated on the record.
                 ❑ Defendant advised of consequences offals~e Cement in financial affidavit. ❑Financial Affidavit ordered SEALED.
                 Q Attorney: Vicki Podberesky, Retained ~Appointed ❑ Prev. Appointed ❑ Poss. Contribution(see sepazate order)
                     ❑ Special appearance by:
                 Q Governments request for detention is: ❑GRANTED ❑ DENIED Q WITHDRAWN ❑CONTINUED
                 ❑ Con sled detention heazing is held. ❑Defendant is ordered: ❑Permanently Detained ❑ Temporazily Detained (see separate order).
                      IL FIXED AT$~~ ~`~~                           (SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDITIONS)
                 ❑ Government moves to i1NSEAL Complaint/Indictment/Information/Entire Case: ❑GRANTED ❑DENIED
                 ❑ Preliminary Hearing waived. ❑ Class B Misdemeanor ❑Defendant is advised of maacimum penalties
                   Phis case is assigned to Magistrate Judge                                       .Counsel aze directed to contact the clerk for the setting of
                   all further proceedings.
                 ❑ PO/PSA WARRANT ❑Counsel aze directed to contact the clerk for
                   District Judge                                                   for the setting offurther proceedings.
                   Preliminary Hearing set for                          at 4:30 PM
                    PIA set for:                                 at 1]:00 AM in LA; at 10:00 AM in Riverside; at 10:00 AM in Santa Ana
                 ❑ Governments motion to dismiss case/defendant                                              only: ❑GRANTED ❑DENIED
                 ❑ Defendants motion to dismiss for lack of probable cause: ❑GRANTED ❑DENIED
                 ❑ Defendant executed Waiver of Rights. ❑Process received.
                   Court ORDERS defendant Held to Answer to                                District of
                   ❑ Bond to transfer, if bail is posted. Defendant to report on or before
                     ❑ Warrant of removal and final commitment to issue. Date issued:                               By CRD:
                     ❑ Warrant of removal and final commitment are ordered stayed until
                    Case continued to(Date)                                  (Time)                                   AM / PM
                    Type of Hearing:                            Before Judge                                        /Duty Magistrate Judge.
                    Proceedings will be held in the Q Duty Courtroom                               ❑Judge's Courtroom
                 ❑ Defendant committed to the custody of the U.S. Marshal  Summons: Defendant ordered to report to USM for processing.
                   Abstract of Court Proceeding(CR-53)issued. Copy forwarded to USM.
                    ~bstract ofOrder to Retum~Defendant to Court on Next Court Day(M-20)issued. Original forwarded to USM.
                 'RELEASE ORDER NO:               W~'~M~'~,)                                                      ~ ~~~~~S
                Other:
                                   PS   ❑ USPO ~IAL n                                    CR-10      CR-29                    EADY                  ,M
                                                y~y~~                                                                        Deputy Clerk Initials ~~ ~
                                                                                                                                               :
                                                                                                                                               ~
                 M-5(10/13)                             CALENDAR/PROCEEDING StiEET - LOCALJOUT-OF-DISTRICT CASE                                   Page I of 1




1 of 1                                                                                                                                                   10/25/2021, 8:56 AM
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                    UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

     Case Name: United States of America v. ~r\\~~~ ~~~,1 S.~
                                                              F1 ~y~~ Case No. ~,~t —~~~~~^                                                      —2
                                              ~fendant             ~ Material Witness

     Violation of Title and Section:

                                                           Out of District ~ UNDER SEAL ~ Modified Date:
    Check ~o one of thefive numbered boxes below (unless one bond is to be replaced by another):
    1.   Personal Recognizance (Signature On y         (~),~ Affidavit of Surety With Justification
                                                                                                             Release No.
    2. ~nsecu ed Appearance Bond                              (Form CR-3) Signed by:                              ~~~~,`~
         $ _~ f~t7C~
                                                                                                                   Release to Pretrial ONLY
    3. ~ Appearance Bond
                                                                                                               ~ Release to Probation ONLY
          $
                                                                                                               ~ Forthwith Release
      (a).~ Cash DepOslt (Amount or %)(Form CR-7)
                                                                       With Full Deeding of Property:
      (b). ❑Affidavit of Surety Without
              Justification (Form Cx-4) Signed by:
                                                                                                                  All Conditions of Bond
                          __                                                                                      (Exce tClearing-Warrants
                                                                                                                   Con~tion) Must be Met
                                                                                                                  and Posted by:

                                                                                                                ',nI~ I Z'

                                                                                                                  Third-Party Custody
                                                        4. ❑Collateral Bond in the Amount of(Cash                 Affidavit(Form CR-31)
                                                              or Negotiable Securities):
                                                           $                                                      Bail Fixed by Court:
                                                        5.~ Corporate Surety Bond in the Amount of:          ~~ {Y 1~
                                                               $                                             (Judge /Clerk's Initials)


                                                     PRECONDITIONS TO RELEASE
       The government has requested a Nebbia hearing under 18 U.S.C. § 3142(g)(4).
       The Court has ordered a Nebbia hearing under g 3142 (g)(4).
       The Nebbia hearing is set for                                   at            ❑ a.m. ❑ p.m.

                                                ADDITIONAL CONDITIONS OF RELEASE
In addition to the GENERAL CONDITIONS of RELEASE, the following conditions of release
                                                                                          are imposed upon you:
    Submit to: ~ Pretrial Services Agency(PSA)supervision as directed by PSA; ~ Probation
                                                                                             (USPO)supervision as directed by USPO.
              (The agency indicated above, PSA or USPO, will be referred to below as "SupervisingAgency.'
                                                                                                          ~
    Surrender ali passports and travel documents to Supervising Agency no later than  ~ ~`~~~~'                     , sign a Declaration
     re Passport and Other Travel Documents(Form CR-37), and do not apply for a passport
                                                                                         or other travel document during the pendency
     o this case.
0 ravel is restricted to ~~~~ ~                       .~                                     unless prior permission is granted by Supervising
       genry to travel to a specific other location. Court permission is required for internation
                                                                                                  al travel.
    Reside as approved by Supervising Agency and do not relocate without prior permission from
                                                                                           Supervising Agency.
    Maintain or actively seek employment and provide proof to Supervising Agency. ~ Employmen
                                                                                              t to be approved by Supervising Agency.
    Maintain or begin an educational program and provide proof to Supervising Agency.

                                                                                Defendant's Initials:                Date:
CR-1 (07/21)                            CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM
                                                                                                                                  PAGE 1 OF 5
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   Case Name: United States of America v.            ~`       ~V~~Q, ,                            Case No. ~~,,1 --~~Q
                                                                                                                     j~~                      ~5~  -"Z
        i                                           Defendant ~ Material Witness
      '
      :
      Avoid all contact, directly or indirectly (including by any electronic means), with any person who is a known victim or
       witness in the subject investigation or prosecution, ~ including but not limited to
                                                           ;~ except
       Avoid all contact, directly or indirectly (including by any electronic means), with any known codefendants except in the presence
       of counsel. Notwithstanding this provision, you may contact the following codefendants without your counsel present:

      Do not possess any firearms, ammunition,destructive devices, or other dangerous weapons. ~ In order to determine compliance,
       you agree to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
      Do not use or possess any identification, mail matter, access device, or any identification-related material other than in your
       own legal or true name without prior permission from Supervising Agency. ~ In order to determine compliance, you agree
       to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
      Do not engage in telemarketing.
      Do not sell, transfer, or give away any asset valued at $                                 or more without notifying and obtaining
       permission from the Court, except
      Do not engage in t~ preparation for others.
      Do not use alcohol.
      Participate in the electronic remote alcohol monitoring program as directed by Supervising Agency and abide by all the rules and
       requirements of the program. You. must pay all or part of the costs for treatment based upon your ability to pay as determined by
       Supervising Agency.
      Do not use or possess illegal drugs or state-authorized marijuana. ~ In order to determine compliance, you agree to
       submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
      Do not use for purposes of intoxication any controlled substance analogue as defined by federal law or street, synthetic, or
       designer psychoactive substance capable of impairing mental or physical functioning more than minimally, except as
       prescribed by a medical doctor.
      Submit to:      drug and/or ~ alcohol testing. If directed to do so, participate in outpatient treatment approved by Supervising Agency.
       You must pay all or part of the costs for testing and treatment based upon your ability to pay as determined by Supervising Agency.
      Participate in residential ~ drug and/or ~ alcohol treatment as directed by Supervising Agency. You must pay all or part of the costs
       of treatment based upon your ability to pay as determined by Supervising Agency. ~Release to PSA only ~ Release to USPO only
      Submit to a mental health evaluation. If directed to do so, participate in mental health counseling and/or treatment approved by
       Supervising Agency. You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency.
      Participate in the Location Monitoring Program marked below and abide by all of the requirements of the program and any indicated
      restrictions, under the direction of the Supervising Agency. You must pay all or part of the costs of the program based upon your ability
      to pay as determined by the Supervising Agency. You are financially responsible for any lost or damaged equipment.

      Location Monitoring Technology

            Location Monitoring technology at the discretion of the Supervising Agency

       or



                                                                                Defendant's Initials:                Date:
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   Case Name: United States of America v.                                 ,~ 5.,~ ~~u                   Case No. ~~~ —Qp~~~                       '  `]

                                                [~efen        nt     ~ Material Witness

               Location Monitoring with a bracelet
                   at the discretion of the Supervising Agency or
                  Radio Frequency(RF)or
                  Global Positioning System (GPS)

                  Release to the Supervising Agency only or        ~ Placement of bracelet within 24 hours of release
       or


               Location Monitoring without a bracelet

                  at the discretion of the Supervising Agency or

                   Virtual/Biometric or

                  Voice Recognition



       Restrictions

            Location Monitoring only - no residential restrictions

            Curfew -You are restricted to your residence every day:
                  from                     to
                  as directed by Supervising Agency

            Home Detention -You are restricted to your residence at all times except for employment, education, religious services, medical
               needs or treatment, attorney visits, court appearances and obligations, essential needs, and
               all of which must be preapproved by the Supervising Agency
            Home Incarceration -You are restricted to your residence at all times except for medical needs or treatment, attorney visits, court
               appearances and obligations, and                                       all of which must be preapproved by the Supervising Agency


      You are placed in the third-party custody(Form CR-31) of
      Clear outstanding ~ warrants or ~ DMV and traffic violations and provide proof to Supervising Agency within                  days
       of release from custody.
      Do not possess or have access to, in the home,the workplace, or any other location, any device that offers Internet access except
       as approved by Supervising Agency. ~ In order to determine compliance, you agree to submit to a search of your person
       and/or property by Supervising Agency in conjunction with the U.S. Marshal.
      Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person who is less than
       the age of 18 except in the presence of a parent or legal guardian of the minor.
      Do not loiter or be found within 100 feet of any schoolyard, park, playground, arcade, or other place primarily used by children
       under the age of 18.
      Do not be employed by, affiliated with, own,control, or otherwise participate directly or indirectly in the operation of any daycare
       facility, school, or other organization dealing with the care, custody, or control of children under the age of 18.
                                                                                     Defendant's Initials:_ Date:
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  Case Name: United States of America v.           ~j~j~\,~ y~ ~11~n~~~~~ ~~                             Case No.~~.~ — ~~C~~ _, ~
                                            [~efenda_nt          ~ Material Witness

      Do not view or possess child pornography or child erotica. ~ In order to determine compliance, you agree to submit to a search
       of your person and/or property, including computer hardware and software, by Supervising Agency in conjunction with the U.S.
       Marshal.
      Other conditions:

                                                                                                                      J
                                                                             I -              ~ ~




                                              GENERAL CONDITIONS OF RELEASE

  I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
  may be given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
  United States District Court to which I may be removed or to which the case maybe transferred.

  I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
  direction in connection with such judgment as the Court may prescribe.

  I will immediately inform my counsel of any change in my contact information, including my residence address and telephone number,
  so that I may be reached at all times.

  I will not commit a federal, state, or local crime during the period of release.

  I will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
  tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if I do so, I may be
  subject to further prosecution under the applicable statutes.

  I will cooperate in the collection of a DNA sample under 42 U.S.C. 4 14135a.




                                                                                     Defendant's Initials:                Date:
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                                                                                                                                            '  ,
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                                                       efen ant     ~ Material Witness


                                    ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS

     As a condition of my release on this bond, pursuant to Title 18 of the United States Code,I have read or have had interpreted to me
     and understand the general conditions of release,the preconditions, and the additional conditions ofrelease and agree to comply with
     all conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

     Furthermore,it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
     continue in full force and effect until such time as duly exonerated.

     I understand that violation of any of the general and/or additional conditions of release of this bond may result in a revocation of
     release, an order of detention, and a new prosecution for an additional offense which could result in a term ofimprisonment and/or
     fine.

    I further understand that ifI fail to obey and perform any of the general and/or additional conditions of release of this bond,this bond
    maybe forfeited to the United States of America. If said forfeiture is not set aside,judgment maybe summarily entered in this
    Court against me and each surety,jointly and severally,for the bond amount,together with interest and costs. Execution of the
    judgment maybe issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws of the
    United States, and any cash or real or personal property or the collateral previously posted in connection with this bond maybe
    forfeited.




   ~'                                     ~                                                          ~
    Date                                   Signature ofDefendant/Material Witness                    Telephone Number




      ity and State(DO NOT INCLUDE ZIP CODE)



         Check if interpreter is used:I have interpreted into the                                                language this entire form
         and have been told by the defendant that he or she understands all of it.



    Interpreter's Signature                                                                        Date



     Approved:
                              United States District Judge /Magistrate Judge                       Date

     If cash deposited: Receipt #                               for $


    (This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)




                                                                                Defendant's Initials:1
                                                                                                    (               Date: ~
CR-1 (07/21)                              CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                             PAGE 5 OF 5
